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            EXHIBIT 6
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                                 IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TENNESSEE
                                           EASTERN DIVISION

    CONSOLIDATED INDUSTRIES, LLC                        )
    d/b/a WEATHER KING PORTABLE                         )
    BUILDINGS,                                          )
                                                        )
                Plaintiff,                              )
                                                        )   Civil Action No. l:22-cv-01230
    v.                                                  )
                                                        )
    JESSE A. MAUPIN, BARRY D.                           )
    HARRELL, ADRIAN S. HARROD,                          )
    LOGAN C. FEAGIN, STEPHANIE L.                       )
    GILLESPIE, RYAN E. BROWN, DANIEL                    )
    J. HERSHBERGER, BRIAN L. LASSEN,                    )
    ALEYNA LASSEN, and AMERICAN                         )
    BARN CO., LLC,                                      )
                                                        )
                Defendants.                             )



                    RYAN E. BROWN'S RESPONSES TO PLAINTIFF’S
          FIRST SET OF INTERROGATORIES. REQUESTS FOR PRODUCTION OF
                    DOCUMENTS, AND REQUESTS FOR ADMISSION

           Pursuant to Fed. R. Civ. P. 26, 33, 34, and 36, Ryan E. Brown by and through his attorneys,

   states the following responses.

                                           INTERROGATORIES

               1.     Identify each business enterprise that has been engaged in the Portable Buildings

   Industry with which you played any role in planning its creation or formation and, with respect to

   each such enterprise, identify: (a) your specific role(s) relating to the creation/formation; (b) the

   dates in which you were involved in the planning; and (c) all other individuals and entities who

   were involved in planning the creation/formation.

           RESPONSE:



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           Brown objects to this interrogatory as unduly broad, overly burdensome, and not

   proportional to the needs of the case, nor relevant to ay issue in the case. To collect all of this

   information would impose an unnecessary burden on Brown. Subject to and without waiving these

   objections, Brown states as follows:

           R & D Hauling - 2012 - owner and creator

           Pikes Peak Portable - part owner - 2014

           R& D Trucking LLC - 2017 - owner and creator

           Dragonfly Portables LLC - part owner - 2017

           Shed Werx LLC - owner - 2017

           2.     Other than Weather King, identify each business enterprise in the Portable

  Buildings Industry in which you have held an ownership interest and/or performed services

  (whether as an employee, an independent contractor, or in any other capacity) since January 1,

  2021, and, with respect to each such enterprise, identify: (a) your specific relationship with the

  entity, including but not limited to all titles and positions you have held; (b) the nature and extent

  of any ownership interest in the enterprise; (c) the dates of your relationship; and (d) your role and

  duties for the entity.

          RESPONSE:

          Brown objects to this interrogatory as unduly broad, overly burdensome, and not

  proportional to the needs of the case, nor relevant to ay issue in the case. To collect all of this

  information would impose an unnecessary burden on Brown. Subject to and without waiving these

  objections, Brown states as follows:

          R&D Hauling - all duties related to the business

          Pike Peak Portables LLC - all duties related to the business

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   (a) the specific property; (b) the circumstances in which you shared the property with anyone else,

   including but not limited to the identity of all such person and the date(s); and (c) the circumstances

   in which you made use of the property for any purpose other than the furtherance of Weather

   King’s business.

          RESPONSE:

          None.

           10.    Identify all email accounts, cell phone numbers (and providers), messaging

  services, Google drive accounts, Dropbox accounts, and any other cloud-based account that you

  have used at any time since January 1, 2022, through the present.

          RESPONSE:

          Brown objects to this interrogatory as not being proportional to the needs of the case.

           11.    Identify each device in your possession, custody, or control, including but not

  limited to laptop computers, desktop computers, cell phones (including number and provider),

  tablets, or other portable electronic or storage devices, that contains or contained any information

  that refers to, relates to, or was created by Weather King.

          RESPONSE:

          None.

          12.     For each lawsuit, bankruptcy proceeding, criminal proceeding, or administrative

  proceeding, including divorce proceedings, to which you have been a party, state: (a) the court or

  agency in which said proceeding was instituted, the names of the parties to the proceeding, the

  docket number of said proceeding, the date the proceeding was filed and the date the proceeding

  was finally terminated; (b) the nature of the proceeding, including a description of the claims and



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           RESPONSE:

          None.

           6.     All correspondence and other documents exchanged with any former Weather King

  employees between January 1, 2022, and July 1, 2022.

          RESPONSE:

           Responsive documents will be produced.

           7.     All correspondence and other documents exchanged with any then-current Weather

  King employees after January 1, 2022.

          RESPONSE:

          Responsive documents will be produced.

          8.      All correspondence and other documents exchanged with any then-current Weather

  King dealers (including but not limited to employees and agents of those dealers) between January

   1,2022, and July 1,2022.

          RESPONSE:

          None.

          9.      All correspondence and other documents exchanged with any then-current Weather

  King builders (including but not limited to employees and agents of those builders) between

  January 1, 2022, and July 1, 2022.

          RESPONSE:

          None.

          10.     All correspondence and other documents exchanged with any then-current Weather

  King customers (including but not limited to employees and agents of those customers) between

  January 1, 2022, and July 1, 2022.

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           RESPONSE:

          None.

           11.    All correspondence and other documents exchanged with any then-current Weather

  King drivers (including but not limited to employees and agents of those drivers) between January

   1,2022, and July 1,2022.

          RESPONSE:

          None.

           12.    All correspondence and other documents exchanged with any Portable Buildings

  Industry rental companies and/or rental companies being formed (including but not limited to

  employees and agents of those entities) between January 1, 2022, and July 1, 2022.

          RESPONSE:

          None.

           13.    All correspondence and other documents exchanged with BPS, LLC, BPS Rentals,

  LLC, Keith Priestley, Jerry Sawyer or Troy Buttrey between July 1, 2021, and July 1, 2022.

          RESPONSE:

          None.

          14.     All non-privileged correspondence and other documents related to:

          (a) any of the Defendants’ departure from Weather King;

          (b) any of the Defendants’ communications with any Weather King employees about the

          possibility of leaving Weather King or joining ABCO;

          (c) any of the Defendants’ communications with any Weather King builders, dealers,

          drivers, rental companies, or contractors, about the possibility of doing business with

          ABCO or ceasing doing business with Weather King;

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           (d) any claims or potential claims made by Weather King against any of the Defendants;

           (e) any of the Defendants’ possession of or use of any Weather King property; or

           (f) derogatory remarks made by any of the Defendants relating to Weather King;

           RESPONSE:

          None.

           15.    All correspondence and other documents exchanged with any person or entity

  related to the leasing or potential leasing of any property located in Arizona or New Mexico.

          RESPONSE:

          Brown objects to this request as not being proportional to the needs of the case.

           16.    All emails and attachments sent from your Weather King company email address

  to any personal email address since January 1, 2021.

          RESPONSE:

          None.

           17.    All correspondence and other documents referencing or relating to any Weather

  King drawings, blueprints, or other engineering plans, including but not limited to plans prepared

  by Kevin Nolan, P.E.

          RESPONSE:

          None.

           18.    All documents relating to any sales of units using any Weather King drawings,

  blueprints, or other plans, including but not limited to plans prepared by Kevin Nolan, P.E.

          RESPONSE:

          None.



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           RESPONSE:

          None.

           24.    All documents evidencing distributions, salary, wages, bonuses, commissions, or

  other compensation paid or accrued to you by any entity in the Portable Buildings Industry, other

  than Weather King, from January 1,2021, through the date of response.

          RESPONSE:

          None.

          25.     All agreements between you and any of the other Defendants.

          RESPONSE:

          None.

          26.     All agreements between you and any dealers, builders, lenders, investors, or rental

  companies in the Portable Buildings Industry.

          RESPONSE:

          None.

          27.     All photographs, video, and/or audio recordings of Weather King property and/or

  current or former Weather King employees or officers.

          RESPONSE:

          None.

          28.     All documents reflecting notes, diaries, journals, expense records, day planners,

  calendars, and/or other record(s) maintained by you that record, refer, or otherwise relate to your

  activities, including, but not limited to any appointment, meeting, interview, placement, or other

  business activities in the Portable Buildings Industry from January 1, 2022, through July 1,2022.

          RESPONSE:

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           None.

           29.     All correspondence and/or other documents which relate to or refer in any way to

   your decision to become affiliated with a business enterprise in the Portable Buildings Industry

   other than Weather King or to depart from Weather King.

           RESPONSE:

           None.

           30.     All phone records from January 1, 2022, through July 1,2022, related to any device

   that you have used during that time period.

           RESPONSE:

           Brown objects to this request as not being proportional to the needs of the case.

           31.     All correspondence and other documents exchanged between you and anyone else

   related to Weather King’s toll-free telephone number or Caller ID.

           RESPONSE:

           None.

           32.     All documents supporting your “[mistake of fact” affirmative defense.

           RESPONSE:

           None.

           33.     All documents supporting or relating to any other defenses you intend to assert

   against Plaintiffs claims.

           RESPONSE:

           None.

           34.     All documents referenced in your responses to Plaintiffs interrogatories and/or

   upon which you relied in responding to Plaintiffs interrogatories.

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